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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT Co                                      T  CLERK. U.S. DISTRICT COUtU
                                                                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                         SOUTHERN DISTRICT OF CALIFORNIA                             BY        .-M)l.+.J      DEPUTY

             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                 V.                                 (For Offenses Conunitted On or After November 1, 1987)
          EDMUNDO RODRIGUEZ-BATISTA
                                                                       Case Number:         16CR0494-DMS

                                                                    Daniel F. Greene CJA
                                                                    Defendant's Attorney
REGISTRATION NO.                 55428298

D-
THE DEFENDANT:
IZl pleaded guilty to count(s)         I of the Information

D was found guilty on count( s)
    after a plea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Connt
Title & Section                   Nature of Offense                                                                  Nnmberfsl
18 USC 2252(a)(2)                 RECEIPT OF IMAGES OF MINORS ENGAGED IN                                                   I
                                  SEXUALLY EXPLICIT CONDUCT




    The defendant is sentenced as provided in pages 2 tbrough                 5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count( s)
D Count(s)
               --------------------- is                                   dismissed on the motion of the United States.

IZl   Assessment: $100.00



IZl No fine                IZl Forfeiture pursuant to order filed        10/31/2016                   , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, Or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    November 2.2016
                                                                    Date of Imposition of Sentence



                                                                    HON.DA~~W~
                                                                    UNITED STATES DISTRICT JUDGE



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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 SIXTY (60) MONTHS.




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 1Zl   The court makes the following recommendations to the Bureau of Prisons:
       Defendant be designated to a facility in the Western Region of the U.S.




 1Zl   The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D at _ _ _ _ _ _ _ _ A.M.                          on _____________________________________

       D     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D     on or before
       D     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on   ________________________ to ____________________________

 at _______________________ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TEN (10) YEARS.



     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisomnent and at least two periodic drug tests
thereafter as determined by the conrt. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by conrt.
            The above drug testing condition is suspended, based on the conrt's determination that the defendant poses a low risk of future
D
            substance abuse. (Check, ifapplicable.)
181         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
181         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
D           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
D           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            [fthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
       1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
       6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
       10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probation officer;
       11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
           the court; and
       13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.


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                                 SPECIAL CONDITIONS OF SUPERVISION

I.     Submit your person, property, residence, abode, vehicle, papers, computer, social media accounts, any other
       electronic communications or data storage devices or media, and effects to search at any time, with or without a
       warrant, by any law enforcement or probation officer with reasonable suspicion concerning a violation of a
       condition ofprobationlsupervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
       duties. IS U.S.c. 3563(b)(23); 35S3(d)(3). Failure to submit to a search may be grounds of revocation; you shall
       warn any other residents that the premises may be subject to searches pursuant to this condition.

2.     Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are imposed
       by the court.

3.     Not use or possess devices which can communicate data via modem or dedicated connection and may not have
       access to the Internet without prior approval from the court or the probation officer. The offender shall consent to
       the installation of systems that will enable the probation officer to monitor computer use on any computer owned
       or controlled by the offender. The offender shall pay for the cost of installation of the computer software.

4.     Not associate with, or have any contact with any known sex offenders unless in an approved treatment and/or
       counseling setting.

5.     Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or
       through any third-party communication, with the victim or victim's family, without approval of the probation
       officer.

6.     Not initiate any contact (personal, electronic or otherwise) or associate with anyone under the age of IS, unless in
       the presence of a supervising adult who is aware of the offender's deviant sexual behavior and nature of offense
       and conviction, with the exception of the offender's biological children, unless approved in advance by the
       probation officer.

7.     Not accept or commence employment or volunteer activity without prior approval of the probation officer, and
       employment should be subject to continuous review and assessment by the probation officer.

S.     Not loiter within 200 yards of a school, schoolyard, playground, park, amusement center/park, public swimming
       pool, arcade, daycare center, carnival, recreation venue, library and other places primarily frequented by persons
       under the age of IS, without prior approval of the probation officer.

9.     Not possess or view any materials such as videos, magazines, photographs, computer images or other matter that
       depicts "sexually explicit conduct" involving children as defined by IS U.S.c. 2256 (2) and/or "actual sexually
       explicit conduct" involving adults as defmed by IS U.S.C. 2257(h)(l), and not patronize any place where such
       materials or entertainment are the primary material or entertainment available.

10.    Complete a sex offender evaluation, which may include periodic psychological, physiological testing, and
       completion of the ABEL assessment, at the direction of the court or probation officer. If deemed necessary by the
       treatment provider, that the offender participate and successfully complete an approved state-certified sex offender
       treatment program, including compliance with all lifestyle restrictions and treatment requirements ofthe program.
       The Court authorizes the release of the presentence report, and available psychological evaluations to the treatment
       provider, as approved by the probation officer. The offender will allow reciprocal release of information between
       the probation officer and the treatment provider. The offender may also be required to contribute to the costs of
       services rendered in an amount to be determined by the probation officer, based on ability to pay. Polygraph

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          examinations may be used following completion of tbe formal treatment program as directed by tbe probation
          officer in order to monitor adherence to tbe goals and objectives of treatment and as a part ofthe containment model.

  II.     Reside in a residence approved in advance by the probation officer, and any changes in residence shall be pre-
          approved by the probation officer.




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